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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )       No. 19 CR 567
        vs.                                  )
                                             )       Hon. Harry D. Leinenweber
                                             )
DERREL MCDAVID                               )

              SUPPLEMENTAL MOTION TO COMPEL DISCOVERY

        COMES NOW Defendant Derrel McDavid, by and through his attorneys

Beau B. Brindley and Vadim A. Glozman, and hereby moves this Honorable Court

to compel discovery as outlined below:

        Recent discovery disclosures have exposed what appears to be an emerging

pattern of improper communications between government counsel and witnesses in

this case. These mysterious, clandestine, and totally inappropriate forms of

communication necessitate further investigation into (1) the circumstances

surrounding the handling of the witnesses in this case by government counsel and

government agents; and (2) the question of whether witnesses may have been

improperly influenced by these individuals.

        On August 1, 2022, the government first disclosed copies of email

correspondence between Assistant United States Attorney Angel Krull, the former

lead prosecutor on this case, and potential witness Jim DeRogatis1 that took place

in April of 2019, prior to the indictment in this case. In this otherwise unreported



1Jim DeRogatis has been personally served with a subpoena to testify at the upcoming trial and has
acknowledged receipt of that subpoena.
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correspondence, Ms. Krull inexplicably used a burner email account with the

pseudonym “Demetrius Slovenski” and the username piedpiper312.2 As a result of

this disclosure, Mr. McDavid moved this Court to compel disclosure of other

information related to this exchange and any similar occurrences between the U.S.

Attorney’s Office and any potential witnesses (Dkt. 247). That motion is currently

pending and awaiting a response from the government.

        The disclosure of this surreptitious communication between the lead AUSA

assigned to this case and a potential witness also casts new light on other

communications that have been recently disclosed to the defense. Specifically, there

are additional communications involving AUSA Krull, which, after additional

scrutiny, appear to be equally, if not more, troubling than the revelation of the

“Demetrius Slovenski” subterfuge addressed in the motion to compel disclosure.

        In particular, the discovery contains screen captures of text messages that

were exchanged between AUSA Krull and Minor 1 during the investigation of this

case. While they were categorized as discussions of scheduling, the general tenor of

these messages is extremely familiar and oddly personal in a way that is simply not

consistent with the professional standards of the U.S. Attorney’s Office. When

combined with AUSA Krull’s apparent cloak-and-dagger scheme with Jim

DeRogatis, a closer analysis of these text messages’ contents reveals a number of

troubling questions that call for swift answers.


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 Government counsel attempted to explain AUSA Krull’s behavior at the pretrial conference in this
case on August 3, 2022. However, subsequent comments from Jim DeRogatis to the Sun Times and
Chicago Tribune contradict that explanation. Issues related to DeRogatis’s comments will be
addressed in a reply to the government’s response to the initial motion to compel.


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      These Krull/Minor 1 text messages are notable (and troubling) for multiple

reasons: (1) the meetings and calls arranged by AUSA Krull and Minor 1

referenced in these messages do not correspond to any disclosed reports of meetings

or interviews with Minor 1, (2) AUSA Krull makes reference to needing to contact

Minor 1 outside of work hours, (3) instead of using the name of Minor 1 in her

contact list in her phone, AUSA Krull has, without explanation, chosen to identify

the most critical witness in this case as “Boss Baby,” (4) this less-than-professional

nickname is referenced in one of the text messages from AUSA Krull, in which she

directly addresses Minor 1 as “BB,” (5) the unseemly and excessive familiarity and

personal nature of the relationship fostered by AUSA Krull is specifically

exemplified by her receipt of personal photographs of Minor 1 in the form of selfies

showing her pregnancy, which AUSA Krull responded to by effusively

complimenting Minor 1 as being “beautiful” and “glowing,” and saying that she was

“very happy and excited” for her, and (6) the indication that these pregnancy selfies

were shared between AUSA Krull and HSI Agent Amalia Molina, who apparently

also participated in several of the unreported meetings and phone conversations

referenced in these text messages. Undue influence of witnesses by government

attorneys cannot be tolerated. Excessive familiarity and personal connections

between government attorneys and critical witnesses are improper precisely

because such personal connections allows for improper influences on the witnesses

that can shape, taint, or skew the testimony they ultimately give.




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         According to the text messages between Minor 1 and AUSA Krull, Agent

Molina was also in personal contact with Minor 1—it was Agent Molina who

provided the pregnancy selfie of Minor 1, which was not at all germane to any

aspect of the investigation in this case, to AUSA Krull. According to the text

messages disclosed, Agent Molina directly sent multiple pregnancy selfies of Minor

1, and apparently chose her favorite to forward on to AUSA Krull who then made a

series of effusive comments about it to Minor 1. This kind of blatant pandering with

a material witness in the case is not only inexplicable and unorthodox, but it creates

the plain appearance of impropriety.

         Aside from the obvious indecorum of referring to Minor 1—the central

witness of both the 2002 case and the instant matter—as “Boss Baby” and “BB,” as

well as receiving and commenting on extremely personal photographs of Minor 1,

all of which suggests an inappropriate personal relationship that developed either

during the time the government was attempting to induce Minor 1 into cooperating,

or worse, pre-dating the investigation altogether, the most egregious revelation

stemming from these text messages is that there were multiple phone calls and at

least one in-person meeting between Minor 1, AUSA Krull, and possibly Agent

Molina that were not memorialized3. They are as follows:

    Date                                            Type of Communication
    August 21, 2019                                 Phone call
    November 19, 2019                               Phone call
    January 22, 2020                                In-person meeting
    February 24, 2020                               Phone call
    March 5, 2020                                   Phone call

3In addition, unlike text messages that the agents exchanged with other witnesses that were
properly memorialized in reports, these text message conversations were not.


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 June 2, 2020                                     Phone Call
 June 10, 2020                                    Phone Call


      The absence of any memoranda or reports regarding these seven

conversations (that the defense knows of) raises serious Brady v. Maryland

concerns regardless of whether they were never properly memorialized or simply

not turned over. Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure

requires the government to provide defendants with documents or other tangible

objects that are “material to the preparation of the defendant’s defense.” To be

material, the discovery sought must “significantly help in uncovering admissible

evidence, aiding witness preparation, corroborating testimony, or assisting

impeachment and rebuttal.” United States v. Gaddis, 877 F.2d 605, 611 (7th Cir.

1989) (emphasis provided); see also United States v. Chappell, 990 F.3d 673, 678

(8th Cir. 2021) (due process requires the government to disclose evidence “material

to guilt, punishment, and credibility of a witness.”). The Brady doctrine “applies

equally to evidence impeaching the credibility of Government witnesses” as it does

to exculpatory evidence. United States v. Kime, 99 F.3d 870, 882 (8th Cir. 1996);

Giglio v. United States, 405 U.S. 150, 154 (1972). Reports of conversations that

would illustrate an inappropriate personal relationship with a witness certainly

qualify for disclosure under this doctrine.

      Minor 1’s testimony is critical to the government’s case. Her credibility is

certain to be at issue at trial. The government’s entire theory of obstruction of

justice stems from, in part, the claim that Minor 1 lied to a grand jury in 2002. To




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now have at least seven undocumented conversations and meetings with this

initially reluctant witness is evidence that, at best, there are other facts and

assertions Minor 1 has relayed to the government that have been kept from the

defense or, at worst, there was some sort of undue influence or coaxing of this

witness who never sought out this attention from the government, which was not

documented in any way. Neither is acceptable.

      When taken against the backdrop of typical governmental procedures when

communicating with witnesses in an investigation, the absence of any

documentation of these meetings highlights the impropriety of what the text

messages reveal. Even in this case, as an example, the government created reports

detailing calls and text messages received by witnesses. See 6/2/2022 HSI Report of

Investigation (“ROI”) (documenting a text message agents received from Minor 7);

9/2/2021 HSI ROI (documenting phone call agents received from Minor 3); 8/16/2021

HSI ROI (documenting communication and social media documentations agents

received from Minor 7); 6/3/2021 HSI ROI (documenting multiple days Minor 4

contacted agents); 1/20/2021 HSI ROI (documenting Minor 4’s month-long

communication with agents); 10/18/2021 HSI ROI (documenting agents receiving a

call from Minor 3); 12/15/2021 (documenting a voicemail received by the USAO from

a potential alleged victim); 10/5/2020 HSI ROI (documenting Individual D

contacting agents about social media documentation); 6/2/2022 HSI ROI

(documenting agents receiving a voicemail from a witness); 6/6/2022 HSI ROI

(documenting agents receiving a voicemail from a witness). The government also




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created reports when agents contacted the witnesses and even mere attempts to

contact them. See 7/17/2020 HSI ROI (documenting Agent Molina’s attempts to

contact a potential alleged victim by phone); 7/13/2020 HSI ROI (documenting

Agent Molina’s phone contact with Minor 4); 3/12/2020 (documenting agents phone

contact with witnesses and serving subpoenas); 8/15/2020 HSI ROI (documenting

agents contacting Minor 7 regarding social media chat messages); 8/24/2020 HSI

ROI (documenting agents calling a potential witness); 12/2/2019 HSI ROI

(documents agents attempting to contact a potential witness and receiving a phone

call from the potential witness). Yet, none of that documentation occurred with

these conversations between AUSA Krull and Minor 1.

      This means that AUSA Krull participated in a clandestine, pseudonymous

dialogue with Jim DeRogatis, the journalist whose reporting began the

investigation into Robert Kelly in 2002; and she engaged in unreported and

apparently secret conversations with the critical witness whose presence on a video

and under oath statements about that video created the entire case in 2002 and the

obstruction justice claim here. She has, without any documented explanation, an

oddly personal nickname for this critical witness saved in her I-phone and strangely

personal text message exchanges. This combination of facts illustrates improper

and clandestine handling of witnesses by a government attorney who spoke to and

influenced every critical witness in this case.

      Interestingly, both AUSA Krull and Agent Molina are no longer a part of this

case. As previously indicated, AUSA Krull was originally the lead prosecutor on this




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case. She left the case (although did not withdraw as counsel) sometime in 2020

and was transferred to a U.S. Attorney’s Office in another district. HSI Agent

Amalia Molina was also a prominent participant in the early stages of the

government’s investigation. She testified before the grand jury that returned an

indictment in this case. She is conspicuously absent from the government’s witness

list for trial.

        In sum, these text messages suugest that AUSA Krull and Agent Molina

fostered an inappropriate personal relationship with Minor 1, who is indisputably

one of the central witnesses in this case. Whether this was done with the intention

of fostering undue influence over Minor 1 and her potential testimony is not clear

from the face of the text messages. But, especially in light of the fact that many of

the referenced meetings and telephone conversations were apparently

undocumented, the appearance of impropriety is certainly present.

        Due to the troubling nature of these communications, and the previously

revealed emails between AUSA Krull (as Demetrius Slovenski) and Jim DeRogatis,

Mr. McDavid asks this Court to compel additional discovery regarding the

government’s communications with witnesses in this case. Mr. McDavid requests an

order requiring the government to disclose:

        1.        Any and all text messages exchanged between Minor 1 and AUSA

Angel Krull, whether before or after she left the United States Attorney’s Office for

the Northern District of Illinois.




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      2.     An explanation for the “Boss Baby” entry in the AUSA Krull’s I-phone

and when it was input; as well as an explanation for when and why Agent Krull

started referring to a critical witness with such a peculiar and personal nickname or

a shortened form of it (“BB”).

      3.     Any and all contacts between AUSA Krull and any other civilian

potential witness in this case regardless of whether or not the government intends

to call them as a witness in their case-in-chief, including any and all text messages,

emails, records of phone calls (cell phone and landline), and any other

communications she may have had with witnesses under her name, their name, or

any other aliases.

      4.     Any and all contacts between Agent Amalia Molina and Minor 1 or any

other civilian potential witness in this case. It is apparent there are texts between

Molina and Minor 1. They are referenced in the “Boss Baby” texts. At the very

least, those must be turned over at once.

      5.     All communications exchanged between AUSA Krull and Agent Molina

during this investigation (with appropriate limitations for sensitive matters and

other investigations if applicable).

      The above items are necessary to ensure that Mr. McDavid has adequate

discovery in this case concerning potential improper influence on witnesses against

him, and to ensure that he has adequate information to intelligently determine

whether any additional motions may be necessary as a result of this clandestine

and unprofessional communication and disclosure.




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      WHEREFORE, Defendant Derrel McDavid respectfully moves this Court to

order disclosure of the items detailed above.

                                       Respectfully submitted,

                                       /s/ Beau B. Brindley
                                       An Attorney for Derrel McDavid

                                       /s/ Vadim A. Glozman______
                                       An Attorney for Derrel McDavid

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